512 F.2d 992
    89 L.R.R.M. (BNA) 2192, 168 U.S.App.D.C. 78,76 Lab.Cas.  P 10,823
    N. L. R. B.v.Gray Lines, Inc.
    74-1558UNITED STATES COURT OF APPEALS District of Columbia Circuit4/29/75
    
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      N.L.R.B.
    
    
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      AFFIRMED IN PART, REVERSED IN PART, AND REMANDED*
    
    
      
        *
         The judgment or order is accompanied by a Memorandum explanatory of the judgment.  Such memorandum is not included with the opinions of the Court that are printed, and it may not be cited in briefs or memoranda of counsel as precedents, under local rule
      
    
    